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                             Exhibit 3
                             (redacted)
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                                                                              1
 1            UNITED STATES DEPARTMENT OF JUSTICE
              ANTITRUST DIVISION, WASHINGTON, D.C.
 2

 3     PURSUANT TO CIVIL INVESTIGATION DEMAND NO. 30762

 4

 5                      "HIGHLY CONFIDENTIAL"

 6

 7                     30(b)(6) DEPOSITION OF

 8

 9                 ON BEHALF OF ALPHABET, INC.

10                           FEBRUARY 28, 2022

11

12     ORAL VIDEOTAPED DEPOSITION OF                             ,

13 produced as a witness at the instance of the United

14 States Department of Justice and duly sworn, was taken

15 in the above-styled and numbered cause on the 28th day

16 of February, 2022, from 8:36 a.m. to 5:59 p.m. PST,

17 before Melinda Barre, Certified Shorthand Reporter in

18 and for the State of Texas, reported by computerized

19 stenotype machine, all parties appearing remotely via

20 web videoconference, pursuant to the rules of procedure

21 and the provisions stated on the record or attached

22 hereto.

23

24

25
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1 cautious of invading the work product doctrine or the       1    A. Yes.
2 privilege. But to the extent that you can answer            2    Q. Is the third bullet point a full and complete
3 without doing so, you may.                                  3 list of all Google in-house counsel who worked on
4 A. Sure. You asked the objectives? Is that                  4 Project Sunday?
5 right?                                                      5    A. Yes.
6 Q. (By Mr. Nakamura) Yes. I'll just restate.                6    Q. Is the fourth bullet point a full and complete
7           What were Alphabet's objectives as part of        7 list of all Google employees who worked on Project
8 Project Sunday?                                             8 Sunday?
9           MS. ELMER: Same instruction.                      9    A. Yes.
10 A. To understand the implications of our potential         10   Q. What was the role of --
11 responses to regulatory actions.                           11   A. And can I just -- I want to make sure that
12 Q. (By Mr. Nakamura) Were there any other                  12 we're clear about semantics here. When you say "worked
13 objectives that Alphabet had as part of Project Sunday?    13 on," there's a fairly large distinction between "worked
14 A. No.                                                     14 on" and "was made aware of." So I don't want to convey
15 Q. And do you say "no" because any other                   15 that everyone on this list was an active working member
16 objectives are protected in Alphabet's view by privilege   16 of this project.
17 or because there were no other objectives?                 17           I would say that a subset of these people
18 A. There were no other objectives.                         18 worked on it and a larger subset of this group were made
19 Q. And what are -- what in Alphabet's view were            19 aware of the information here.
20 the business implications of Alphabet's potential          20   Q. Okay. I appreciate that.
21 responses to regulatory actions as a part of Project       21           So on this fourth bullet point the first
22 Sunday?                                                    22 name is                   . What was that individual's
23          MS. ELMER: I object to that question as           23 responsibility and work performed as to Project Sunday?
24 invading the work product doctrine and instruct the        24   A. So his responsibility was to designate his
25 witness not to answer.                                     25 direct report,               , to lead the corporate

                                                  Page 74                                                                 Page 76
 1 Q. (By Mr. Nakamura) Will you follow Ms. Elmer's            1 development aspects of the project; and that was his
 2 instruction?                                                2 entire responsibility.
 3 A. Yes.                                                     3 Q. Thank you.
 4 Q. What outside counsel were involved with Project          4          And what was               responsibility
 5 Sunday?                                                     5 and what work did she do on Project Sunday?
 6 A. Outside counsel, for that, I'll need to look             6 A. I can't speak to the work she did because I
 7 through the letter.                                         7 think that would violate privilege, but her
 8 Q. And to be clear, if it helps you, I'm happy to           8 responsibility was a combination of project manager and
 9 just work through the letter. I just need your sworn        9 representative in her corporate capacity.
10 testimony that what the letter says is or is not           10 Q. So let me get this refusal on the record. What
11 accurate.                                                  11 work did            do for Project Sunday?
12            So we can go piece by piece through that        12 A. Yeah. I think you're asking me to tell you
13 if that's a good starting point for you.                   13 what we did in a project that was specifically directed
14 A. Yeah. I would appreciate that, and I'll                 14 by legal to do. So I don't understand how I could do
15 reiterate that the letter is here to assist as well to     15 that without violating the privilege of this project.
16 make sure that we have as correct a set of facts as        16 Q. If you refuse to answer my question, I
17 possible. So I'm happy to work through in conjunction      17 understand that. Are you refusing to answer my question
18 with that.                                                 18 as to what work Ms. Arora did for Project Sunday?
19 Q. Okay. So on Exhibit 7, page 4 under the                 19 A. Yes.
20 heading Project Sunday, let me know when you have that     20 Q. What department does                  work in at
21 in front of you.                                           21 Google?
22 A. I do.                                                   22 A. Corporate development.
23 Q. Is this list on the second bullet point of              23 Q. What was the work that                   performed
24 outside counsel a full, complete and accurate list of      24 for Project Sunday?
25 all outside counsel who worked on Project Sunday?          25 A. He worked for                    and provided analysis.
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 1 Q. And what department does                   work in?      1 Q. What types of analysis were you to provide as
 2 A. Corporate development. I'm sorry. Did you say            2 part of your job responsibilities with respect to
 3 what does he work in or what did he work in?                3 Project Sunday?
 4 Q. At the time he worked on Project Sunday, what            4 A. That would invade privilege.
 5 department did            work in?                          5 Q. So are you refusing to answer my question about
 6 A. Corporate development.                                   6 your job responsibilities on Project Sunday on the basis
 7 Q. And what work did               do for Project           7 of privilege?
 8 Sunday?                                                     8 A. Yes, of course.
 9 A. As stated, analysis.                                     9 Q. What work did you do with respect to Project
10 Q. And what types of analysis did                  do?      10 Sunday?
11           MS. ELMER: Object and instruct the                11           MS. ELMER: Instruct the witness not to
12 witness not to answer to the extent it invades the work     12 answer to the extent that responding would invade the
13 product doctrine.                                           13 work product doctrine.
14 Q. (By Mr. Nakamura) Will you follow that                   14                , if there is a way to respond that
15 instruction?                                                15 would not invade the work product doctrine or the
16 A. Yes.                                                     16 privilege, you may do so.
17 Q. Other than privileged information, can you               17 A. I provided an analysis and I gave a
18 describe any work            did on Project Sunday?         18 presentation.
19           MS. ELMER: Objection, asked and answered.         19 Q. (By Mr. Nakamura) When did you give this
20 Q. (By Mr. Nakamura)                     , other than       20 presentation?
21 privileged information, can you describe any work that      21 A. October -- either September or October, in that
22 Mr. Oatis did on Project Sunday?                            22 time frame, of 2020.
23 A. Nope.                                                    23 Q. And to whom did you present?
24 Q. What work did Alon Bonder do on Project Sunday?          24 A. To the list of Google employees included here.
25           MS. ELMER: Same instruction,            . To      25 Q. Did you present to any Google employees who are

                                                   Page 78                                                        Page 80
1 the extent that answering would invade the work product      1 not listed here?
2 doctrine, I instruct you not to answer.                      2 A. No.
3 A. Yes. The response is identical to what I gave             3 Q. What was the format of the presentation?
4 you for                                                      4 A. There was a slides document, and it was
5 Q. (By Mr. Nakamura) And what department does                5 provided over a GVC videoconference.
6               work in -- worked in at Alphabet at the time   6 Q. Did anyone else give that presentation other
7 of Project Sunday?                                           7 than you?
8 A. Corporate development.                                    8 A. Portions, yes.
9 Q. What work did                   do for Project Sunday?    9 Q. And who were those other people who delivered
10          MS. ELMER: Same instruction.                       10 portions of that presentation?
11 A. She did no work on the project.                          11 A.                         and
12 Q (By Mr. Nakamura) What were her                           12 Q. Did anyone else present besides the people we
13 responsibilities with respect to Project Sunday?            13 have just mentioned?
14 A. To designate me to complete portions of the              14 A. No.
15 project and to review the outcome.                          15 Q. Is there any other work that you did for
16 Q. What did                  do to review the outcome of    16 Project Sunday other than the presentation given in
17 Project Sunday?                                             17 September or October of 2020?
18 A. She listened to a presentation.                          18           MS. ELMER: Same instruction.
19 Q. And did                  make any decisions with         19           THE WITNESS: What's the instruction?
20 respect to Project Sunday based on the information          20           MS. ELMER: Which is to the extent that
21 provided to her?                                            21 you can answer without invading the work product
22 A. No, no decisions were made.                              22 doctrine or privilege, you may do so.
23 Q. And what were your responsibilities with                 23 A. Sure. I believe the presentation was given --
24 respect to Project Sunday?                                  24 when                  moved to a different role, I believe
25 A. To provide analysis.                                     25 the presentation was given as a -- for awareness to her
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1 successor, who was                     .                     1 responsibilities?
2 Q. (By Mr. Nakamura) Thank you. And                          2 A. Yes.
3 approximately what was the date of that presentation?        3 Q. And what generally outside -- just generally at
4 A. Best guess, late April 2021.                              4 Alphabet were               job responsibilities at the
5 Q. And what was                           set of             5 time of Project Sunday?
6 responsibilities with respect to Project Sunday?             6 A. So he worked for the CFO, and his job was to
7 A. Sure. He was responsible for providing                    7 understand financial impact and provide guidance to the
8 analysis.                                                    8 businesses.
9 Q. What kind of analysis was he in charge of                 9 Q. I'm sorry for interrupting you.
10 providing as part of Project Sunday?                       10           And when you say "the CFO," do you mean
11 A. Yeah. I can't answer that, you know, per                11 Ruth Porat?
12 privilege.                                                 12 A. Yes.
13 Q. So to be clear, you're refusing to answer my            13 Q. Thank you.
14 question on the basis of privilege. Is that correct?       14           What was                    job
15 A. Yes.                                                    15 responsibilities with respect to Project Sunday?
16          MS. ELMER: And the work product doctrine.         16 A. Yeah. He listened to the presentation.
17          MR. NAKAMURA: Thank you. Obviously we             17 Q. What work, if any, did                      produce
18 can have that as a continuing objection to speed this      18 as part of Project Sunday?
19 along. That's fine with me.                                19 A. Yeah. I think you're going to get a consistent
20          MS. ELMER: All right. Great.                      20 answer. So I don't know if you want to keep asking
21 Q. (By Mr. Nakamura) What department does                  21 every time.
22              work in at Google at the time of Project      22 Q. I must. So I'm just going to ask you. What
23 Sunday?                                                    23 work product did                  produce as part of
24 A. In the -- he's in the Ads division.                     24 Project Sunday?
25 Q. I'm sorry. Could you explain more about what            25 A. He didn't produce any work.

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1 you mean by the Ads division and what products he            1 Q. Thank you.
2 covers?                                                      2          And what were                     job
3 A. He was responsible for buy-side products, not             3 responsibilities at Alphabet at the time of Project
4 including Google ads. So I believe he was in a               4 Sunday?
5 division -- I'm sorry. The divisions have changed names      5 A. He was a director of finance in Ads.
6 over time, but he was responsible for DB360 and the          6 Q. What work did                             do as part of
7 product DCM, the campaign manager.                           7 Project Sunday?
8 Q. DoubleClick Campaign Manager. Is that correct?            8 A. She provided analysis.
9 A. Yes.                                                      9 Q. And what kinds of analysis did she provide?
10 Q. Thank you. And what work did                      do    10          MS. ELMER: I instruct the witness not to
11 for Project Sunday?                                        11 answer as it invades the work product doctrine and
12 A. He was a recipient or a listener to the                 12 attorney/client privilege.
13 presentation.                                              13 A. I can't answer that.
14 Q. And by "the presentation," you mean the                 14 Q. (By Mr. Nakamura) Thank you.
15 presentation given in September/October of 2020. Is        15          And what job responsibilities did
16 that correct?                                              16 have at the time of Project Sunday?
17 A. Yep.                                                    17 A. She was a --
18 Q. And what were                     job                   18 Q. I apologize. With respect specifically to
19 responsibilities with respect to Project Sunday?           19 Project Sunday.
20 A. I can give you what his responsibilities were           20          MS. ELMER: Wait. Please ask the question
21 in general; but I think with respect to the project, I     21 again, Brent. It got garbled.
22 think that would invade privilege.                         22          MR. NAKAMURA: I appreciate that, Julie.
23 Q. Okay. And are you refusing to answer my                 23 Q. (By Mr. Nakamura) So with respect specifically
24 questions specifically with respect to Project Sunday on   24 to Project Sunday, what were                job
25 the basis of privilege as to              job              25 responsibilities?
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 1          MS. ELMER: Same instruction,                       1 presentation in late April 2021 and the presentation in
 2 A. Yeah. To provide analysis.                               2 September or October of 2020?
 3 Q. (By Mr. Nakamura) And you are otherwise                  3 A. I am -- I'm certain he attended the one in
 4 refusing to answer on the basis of privilege. Is that       4 October. I don't know if he would have attended given
 5 correct?                                                    5 it was materially the same presentation.
 6 A. Yes.                                                     6 Q. Okay. What work did                       do with
 7 Q. At the time of Project Sunday what were                  7 respect to Project Sunday?
 8            job responsibilities at Google?                  8 A. He listened to the presentation.
 9 A. She was a finance manager.                               9 Q. Did he produce any other work with respect to
10 Q. And to whom did she report?                             10 Project Sunday?
11 A. To                         .                            11 A. No.
12 Q. What work did                              do with      12 Q. What were                       responsibilities with
13 respect to Project Sunday?                                 13 respect to Project Sunday?
14 A. He listened to a presentation.                          14 A. I can't answer that.
15 Q. And is that only the presentation in September          15 Q. And why not?
16 or October of 2020?                                        16 A. Privilege.
17 A. Yes.                                                    17 Q. What were                    responsibilities with
18 Q. What responsibilities did Mr. Raghavan have             18 respect to Project Sunday?
19 with respect to Project Sunday?                            19 A. She listened to the presentation.
20           MS. ELMER: Same instruction. To the              20 Q. Did she create any work product --
21 extent that you can answer without invading the            21 A. No.
22 privilege, you may.                                        22 Q. -- in response to Project Sunday?
23 A. Yeah. I can't answer.                                   23 A. Did she create any work product?
24 Q. (By Mr. Nakamura) Was                          a key    24 Q. Did she do any work? I apologize. Did she do
25 decision-maker with respect to Project Sunday?             25 any work other than just listening to the presentation

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1 A. So you're asking a speculative question that              1 with respect to Project Sunday?
2 assumes decisions would have been -- or decisions were       2 A. No.
3 made. So I guess I don't know how to answer your             3 Q. And, lastly, what did              do with respect
4 question.                                                    4 to Project Sunday?
5 Q. And to be clear, I asked because in a previous            5 A. He listened to the presentation.
6 letter sent by Ms. Elmer,                was described as    6 Q. Did he create any written work product or
7 a key decision-maker. So I'm just seeking clarification      7 anything else for Project Sunday?
8 as to whether or not that's correct. Obviously, if it's      8 A. No.
9 not correct and you've corrected it here in testimony,       9 Q. And what were                  job responsibilities
10 I'm fine with that.                                        10 with respect to Project Sunday?
11           My question is simply was                    a   11 A. I can't answer that.
12 key decision-maker with respect to Project Sunday?         12 Q. Why not?
13 A. No. I think that prior letter was incorrect.            13 A. Privilege.
14 Q. Okay. What work did                     do with         14 Q. Who initiated Project Sunday?
15 respect to Project Sunday?                                 15 A. Ted Lazarus.
16 A. He listened to the presentation.                        16 Q. Did anyone else initiate Project Sunday?
17 Q. Did he do any other work with respect to                17 A. It likely -- or it may have been in conjunction
18 Project Sunday?                                            18 with one or more of the senior management folks, as he
19 A. No.                                                     19 would have spoken with them to advise on issues
20 Q. What responsibilities did                  have         20 happening.
21 with respect to Project Sunday?                            21 Q. What do you mean by "senior management folks"?
22 A. I can't answer that.                                    22 Who are those individuals?
23 Q. And why not?                                            23 A.                      or               or
24 A. Privilege and work product.                             24 Q. And are any of those individuals lawyers?
25 Q. Okay. And did                    attend both the        25 A. Are you asking are they acting in the capacity
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1 page 2, Exhibit 7?                                         1 answer, that is okay.
2   A. I can offer -- as a corporate designee, I can         2           MR. NAKAMURA: And I would caution counsel
 3 offer that Project SingleClick, which was the first in    3 that objections are to be limited to protect the
 4 the series of these projects, would never have been       4 privilege, preserve a Fifth Amendment right or otherwise
 5 undertaken if we did not anticipate litigation. And       5 stated shortly and plainly. If nothing else, we can
 6 that project started in December 2019.                    6 just move on.
 7          But I can't answer your other question the       7           MS. ELMER: I'll remind the questioner not
 8 specific way you phrased it because I think that -- in    8 to harass the witness. Same scope objection, asked and
 9 my opinion, that violates -- like you're asking me to     9 answered. And I instruct the witness not to answer to
10 tell you exactly my conversations with a lawyer or our   10 the extent that the answer would invade attorney/client
11 internal conversations as a corporate with our counsel   11 privilege or the work product doctrine.
12 and our business leaders.                                12            MR. NAKAMURA: To be clear, because
13 Q. To be clear,                   , I'm not asking you   13                brought this up himself, is it your
14 for what you told your lawyers or anything else like     14 position, Ms. Elmer, today that the dates on which
15 that. All I'm asking for is Alphabet's position on the   15 Alphabet anticipated litigation are privileged?
16 dates on which it anticipated litigation in response to  16            MS. ELMER: No. It is my position that
17 the investigations listed on page 2, Exhibit 7. What     17 this witness is not the corporate designee on that topic
18 are those dates?                                         18 and that that particular question invades attorney work
19           MS. ELMER: Brent, he just told you what        19 product, opinion work product.
20 the date was. He has answered your question.             20            The date on which counsel for a company
21 A. I just don't understand how this would not be a       21 decides that a government investigation is likely to
22 privileged conversation. You're asking for our           22 lead to litigation is a matter of attorney opinion work
23 combination of our general manager and legal analysis to 23 product.
24 a regulatory situation. I just don't get what you're     24            So no, I have not brought a witness here
25 asking and how that would be fair.                       25 today to testify about opinion work product of

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 1 Q. (By Mr. Nakamura) Okay. So just to confirm,             1 attorneys. So let's move on.
 2 and, again, we can close this out and move on. I am        2 Q. (By Mr. Nakamura)                     , do you refuse
 3 simply asking, are you saying you are not going to give    3 to answer my question on the basis of your counsel's
 4 me a response because you believe that it would be         4 advice?
 5 privileged,               ?                                5 A. I feel like I've answered your question four
 6 A. I gave you a response.                                  6 times already. So no, I believe I did answer your
 7          MS. ELMER: He's already provided you a            7 question.
 8 response, Brent. He answered your question. He said        8 Q.                  , do you refuse to provide any
9 that SingleClick in December of 2019 would not have been     9 additional information in response to my question based
10 undertaken had litigation not been anticipated. He's       10 on your counsel's advice?
11 answered your question. Please stop badgering and          11 A. Yes.
12 harassing the witness.                                     12 Q. Thank you.
13           MR. NAKAMURA: I am simply attempting to          13           As part of Project Sunday, is Alphabet
14 just close out this line of questioning. If he is not      14 considering any divestitures?
15 prepared today to testify on it, that is perfectly fine.   15           MS. ELMER: I instruct the witness not to
16 I just have to know that.                                  16 answer because the question invades the privilege and
17           If you think it's outside of the scope,          17 work product.
18 you can instruct him not to answer. These are all          18 Q. (By Mr. Nakamura) Will you follow your
19 simple solutions.                                          19 counsel's instruction?
20 Q (By Mr. Nakamura) My question -- I'm just                20 A. Yes.
21 trying to close this out -- is,             , on what      21 Q. Prior to Project Sunday, since 2019, has
22 dates did Alphabet anticipate litigation for each          22 Alphabet considered divesting any of its AdTech
23 investigation listed on page 2 of Exhibit 7?               23 products?
24           MS. ELMER: Same scope objection.                 24           MS. ELMER: Same instruction.
25 Q. (By Mr. Nakamura) If you do not have an                 25 Q. (By Mr. Nakamura) I'm sorry. Outside of
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 1 Project Sunday, since 2019, has Alphabet considered         1           MS. ELMER: Well,            I'm sorry to
 2 divesting any of its AdTech products?                       2 interrupt. I'm sorry to interrupt. But because this
 3           MS. ELMER: I instruct the witness not to          3 question is going beyond the scope of the CID, I'm
 4 answer to the extent that the question invades the          4 instructing you to answer in your personal capacity
 5 privilege or attorney work product.                         5 here.
 6           MR. NAKAMURA: I don't understand,                 6           THE WITNESS: Oh, okay.
 7 Ms. Elmer, the basis for your privilege instruction,        7 A. Then I would say I can't answer due to
 8 given that I said "outside of Project Sunday." Are you      8 privilege.
 9 saying that everything outside of Project Sunday is         9 Q. (By Mr. Nakamura) And is one of the -- and
10 privileged?                                                10 what are the names of projects for which Alphabet was
11           MS. ELMER: I think we're here about a lot        11 considering divestitures of its AdTech products?
12 of projects, Brent, today. So why don't you ask a          12           MS. ELMER: I instruct the witness not to
13 better question.                                           13 answer the question because the question invades the
14 Q. (By Mr. Nakamura) As part of any projects               14 attorney/client privilege and the work product doctrine.
15 outside of Project Sunday, did Alphabet consider any       15 Q. (By Mr. Nakamura) Will you follow your
16 divestitures of its AdTech products?                       16 counsel's instruction?
17           MS. ELMER: Same instruction.                     17 A. Yeah. Are you actually asking me, like, about
18           MR. NAKAMURA: Is your privilege                  18 the privileged contents?
19 instruction, Ms. Elmer, based on the notion that the       19           MS. ELMER: He is, and I instruct you not
20 names of projects outside of Project Sunday are            20 to answer.
21 privileged?                                                21           MR. NAKAMURA: And that's fine.
22           MS. ELMER: It is not.                            22 Q. (By Mr. Nakamura) As part of -- I'm sorry.
23           And we've been going for quite some time,        23 And are you going to follow your counsel's instruction
24 and I think we've reached our lunch break time. So why     24 not to answer?
25 don't we take a lunch break, and then we can come back.    25 A. Yeah.

                                                Page 114                                                      Page 116
 1          MR. NAKAMURA: All right. Let's go off              1 Q. As part of Project Sunday, is Alphabet
 2 the record.                                                 2 considering any changes to the way its AdTech products
 3          THE VIDEOGRAPHER: Going off the record at          3 operate?
 4 12:10 p.m.                                                  4          MS. ELMER: Same instruction.
 5          (Luncheon recess)                                  5 Q. (By Mr. Nakamura) Are you going to follow your
 6          THE VIDEOGRAPHER: Back on the record at            6 counsel's instruction?
 7 12:52 p.m.                                                  7 A. Yes.
 8 Q. (By Mr. Nakamura) All right. Thanks for                  8 Q. Did Project Sunday incorporate any business
 9 returning,             . I'm just going to finish off       9 analyses previously performed by Alphabet employees
10 the question I had earlier.                                10 before Project Sunday began?
11           As part of any projects outside of Project       11 A. I'm sorry, can you repeat it?
12 Sunday, did Alphabet consider any divestitures of its      12 Q. Sure. Did Project Sunday incorporate any
13 AdTech products?                                           13 business analyses performed by Alphabet employees before
14           MS. ELMER: Brent, do you mean the other          14 Project Sunday began?
15 projects listed in the CID, or do you mean any other       15 A. So my understanding is there was an industry
16 projects at Google ever?                                   16 report that had been prepared in the general course of
17           MR. NAKAMURA: Any other projects at              17 normal business separate from the project and that
18 Google ever since 2019.                                    18 pieces of that, namely, facts, were taken and then
19           MS. ELMER: All right. So I object to             19 incorporated into the project.
20 your question as being outside the scope of the CID, but   20          Yeah. That's for a portion of the
21        may answer in his personal capacity if he can to    21 project; and, yeah, that's the extent of my
22 the extent that such an answer would not invade the        22 understanding there.
23 privilege or work product.                                 23 Q. And who performed that -- or who created that
24 A. So as the corporate designee relating to these          24 industry report that you just described?
25 projects --                                                25 A. And actually, I want to amend my last answer
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 1 after I answer this.                                        1 been done that was contributed to Project Sunday.
 2           So Lazard, the investment bank, was on a          2 Q. (By Mr. Nakamura) Okay. Thank you.
 3 general retainer for general industry trends. So they       3          And what data sources did Alphabet
 4 had provided that report as part of a separate sort of      4 employees rely upon for any financial analyses prepared
 5 ongoing, what's going on in industry retainer. So they      5 for Project Sunday?
 6 were unaware of its use in this project.                    6          MS. ELMER: Object as invading the work
 7           And again I'll say that that was a                7 product doctrine and the attorney/client privilege.
 8 collection of facts that were then used. So that's          8 A. Okay. So I can't answer for those reasons.
 9 that.                                                       9          MR. NAKAMURA: I'm sorry. To be clear,
10           I want to say also there were pieces of          10 are you instructing              not to answer?
11 analysis from other projects listed in the CID that        11           MS. ELMER: Yes.
12 were -- that were used and incorporated in Project         12 Q. (By Mr. Nakamura) And will you follow your
13 Sunday.                                                    13 counsel's instruction?
14 Q. And what are the names of those projects whose          14 A. Yes.
15 pieces of analyses were included in Project Sunday?        15 Q. So if you turn to Exhibit 7, page 4 at the
16 A. SingleClick and Stonehenge.                             16 bottom -- let me know if you need us to refresh that or
17 Q. Okay. And other than work from Projects                 17 if you have it up.
18 SingleClick, Stonehenge and Lazard's work as you           18 A. Is this the 225 -- oh, no, wait. That's
19 previously described, was any other business analysis      19 No. 20.
20 performed by an Alphabet employee incorporated into        20 Q. That's my internal tab number. That is
21 Project Sunday?                                            21 Exhibit 7. So it is the February 25th letter.
22           MS. ELMER: Object to the form as                 22 A. Okay.
23 mischaracterizing testimony and assuming facts.            23 Q. Let me know when you have that up.
24           But you may answer.                              24 A. Page 4, yes. I have that up.
25 A. I'm sorry. Can you repeat?                              25 Q. So I just want to make sure that in the last

                                                Page 118                                                        Page 120
1 Q. (By Mr. Nakamura) Sure. And is there any                  1 bullet point that spills over to the next page, does
2 other business analysis other than from Project              2 that accurately summarize Lazard's involvement in
3 SingleClick, Project Stonehenge and Lazard incorporated      3 providing work that was used in Project Sunday?
4 into Project Sunday --                                       4 A. Yes. And --
5           MS. ELMER: Object to the form -- go                5 Q. I'm sorry. Go ahead.
 6 ahead.                                                      6 A. To be very specific, work not for Project
 7 Q. (By Mr. Nakamura) -- that was undertaken prior           7 Sunday but work that was subsequently used in Project
 8 to the beginning of Project Sunday?                         8 Sunday, yes.
 9          MS. ELMER: Object to the form as                   9 Q. And who on Google's corporate development team
10 mischaracterizing testimony, assuming facts and            10 interfaced with Lazard?
11 misleading.                                                11 A.                         . He's the primary contact with
12           But you may answer if you can.                   12 Lazard.
13 A. I'm sorry. I'm still not --                             13 Q. Did anyone else from Alphabet interact with
14 Q. (By Mr. Nakamura) Other than what you've just           14 Lazard with respect to the project as described on
15 listed, were there any other business analyses performed   15 page 4 of Exhibit 7?
16 by Alphabet employees prior to the beginning of Project    16 A. With respect to the general retainer agreement,
17 Sunday that were incorporated into Project Sunday?         17 I believe                 likely interacts with them
18           MS. ELMER: Object to the                         18 occasionally.
19 mischaracterization of SingleClick and Stonehenge as       19 Q. And did Lazard make a presentation to any
20 business analyses. Also object to the                      20 Alphabet employee with respect to the general overview
21 mischaracterization of any work provided by Lazard as      21 of the AdTech industry as described at the top of page 5
22 being the work of a Google employee.                       22 of Exhibit 7?
23           Other than that, you may answer if you           23 A. That, I don't know. At the very least they
24 can,                                                       24 provided a document.
25 A. I'm not aware of any other prior work that had          25 Q. Okay. I'll now turn to ask you about Project
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1 Monday, which is part of specifications 1b,                 1 then you may do so.
2 specification 2.                                            2          THE WITNESS: Sure.
3           Who chose the name "Project Monday" for           3 A. In conjunction with legal counsel, I authored a
4 the project?                                                 4 potential remedy.
5 A. I did.                                                    5 Q. (By Mr. Nakamura) And which legal counsel did
6 Q. And what was the subject matter of Project                6 you author that in conjunction with?
7 Monday?                                                      7 A. Ted Lazarus and                            and I believe
8           MS. ELMER: I instruct the witness not to           8 possibly
9 answer to the extent that it would invade the privilege;     9 Q. I'm sorry. Could you spell that last name?
10 but, otherwise, you may answer.                            10 A. It's a first name,
11 A. Yeah. It was an analysis for a particular               11 Q. Yes. Could you spell that for us, please.
12 remedy to be undertaken due to the anticipated             12 A.
13 litigation.                                                13 Q. I see now. Okay. And is his last name
14 Q. (By Mr. Nakamura) And what was the particular           14
15 remedy to be undertaken?                                   15 A. Yes.
16           MS. ELMER: Same instruction.                     16 Q. Okay. Thank you.
17 A. Yeah. That's privileged.                                17          And that's listed at the last line of
18 Q. (By Mr. Nakamura) So will you follow your               18 Google's in-house counsel included. Is that correct?
19 counsel's instruction not to answer?                       19 A. Yes.
20 A. Yes.                                                    20 Q. And when did you author that legal remedy?
21 Q. So turning to page 5 of Exhibit 7, is this a            21 A. So that was approximately -- it was early
22 complete list in bullet point 2 of all outside counsel     22 March 2021.
23 who worked on Project Monday?                              23 Q. And did you write that legal remedy down in a
24 A. Yes.                                                    24 document?
25 Q. And is this a complete list of all Google               25 A. Yes.

                                                Page 122                                                         Page 124
 1 in-house counsel who worked on Project Monday?             1 Q. What form did that document take?
 2 A. Yes, although, again, I want to distinguish             2 A. A written docs, document.
 3 between "worked on" and "made aware of."                   3 Q. Did you make any presentations to anyone at
 4 Q. And what is that distinction?                           4 Alphabet with respect to that legal remedy?
 5 A. In that I don't know if all of them were                5 A. Yes.
 6 contributing to the document as much as possibly, you      6 Q. And when did you make that presentation?
 7 know, this would have been provided to them but they       7 A. In the April/May time frame.
 8 likely didn't do -- many of them likely didn't do work,    8 Q. And I'm sorry. To be clear, do you mean
 9 quote unquote, work.                                       9 April/May 2021?
10 Q. Okay. And who initiated Project Monday?                 10 A. Yes.
11 A. I did.                                                  11 Q. And who was at the presentation in April or
12 Q. Did Mr. Schindler initiate Project Monday?              12 May 2021?
13 A. No. I think I just told you I did.                      13 A. Scott Spencer,                      , Ted Lazarus,
14 Q. And did anyone else initiate Project Monday?            14 possibly                 . And that would have been it.
15 A. No.                                                     15 Q. And what was Mr. Lazarus' role in the
16 Q. What was -- what were your job responsibilities         16 presentation?
17 with respect to Project Monday?                            17 A. Audience and -- yeah, primarily audience, but
18 A. To steward the business through regulatory --           18 also, you know, had provided legal advice.
19 potential regulatory action.                               19 Q. Did anyone else present the legal remedy that
20 Q. And what work did you do with respect to                20 you authored in the April or May 2021 presentation?
21 Project Monday?                                            21 A. I suspect that may have happened up the chain
22           MS. ELMER: And,           I instruct you not     22 that I wasn't personally aware of. But yeah, I do
23 to answer to the extent that answering would invade the    23 believe that the contents of this were presented up to
24 work product doctrine or privilege. But if there's a       24 senior management without me.
25 way that you can answer with not invading the privilege,   25 Q. And who did the presentation of that legal
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1 me know when you are there.                                1 remember and from what I've seen over the past five to
2 A. I am there.                                             2 ten years, quite regularly.
3 Q. Looking at the first full bullet point on               3 Q. And was Alphabet's consideration of
4 page 4 of this PDF, did Project Stonehenge involve
5 Alphabet's consideration of
                                                              6          MS. ELMER: And I'm going to object to
 7          MS. ELMER: And I instruct the witness not         7 this question as exceeding the scope of the CID, but the
 8 to answer the question. It's an improper question that     8 witness may answer in his individual capacity.
 9 attempts to invade the privilege, the work product         9 A. Yeah. I'll go so far as to say yes.
10 doctrine, and on that basis instruct the witness not to   10 Q. (By Mr. Nakamura) And was the consideration of
11 answer.                                                   11
12 Q. (By Mr. Nakamura) Will you follow Ms. Elmer's
13 instruction,            ?                                 13           MS. ELMER: Same scope objection, but he
14 A. Yes.                                                   14 may answer in his individual capacity.
15 Q. And was the                            discussion      15 A. Yes.
16 mentioned in this bullet point one that was done          16 Q. (By Mr. Nakamura) And was
17 separately from Project Stonehenge?                       17 was Alphabet's consideration of
18 A. I don't know how to answer that with invading          18              part of Project Stonehenge?
19 the privilege.                                            19           MS. ELMER: I instruct the witness not to
20           MR. NAKAMURA: Ms. Elmer, are you                20 answer the question because your question invades the
21 instructing             then not to answer my question?   21 work product doctrine and the attorney/client privilege.
22           MS. ELMER: Let's take a break to discuss        22           MR. NAKAMURA: Thank you.
23 an issue of privilege.                                    23 Q. (By Mr. Nakamura) Will you follow Ms. Elmer's
24           MR. NAKAMURA: All right. Let's go off           24 instruction?
25 the record.                                               25 A. Yes.

                                                Page 238                                                        Page 240
 1          THE VIDEOGRAPHER: Off the record at               1           MR. NAKAMURA: And before we put this
 2 5:47 p.m.                                                  2 aside, I will register the Division's position that we
 3          (Recess taken)                                    3 believe that privilege has been waived over this
 4          THE VIDEOGRAPHER: Back on the record at           4 document and the redactions that were made were not
 5 5:49 p.m.                                                  5 appropriate. So with that,                 , you can put
 6 Q. (By Mr. Nakamura) And,                     , my         6 that aside.
 7 question was was the                        discussion     7           MS. ELMER: And we dispute that position,
 8 mentioned in this bullet point on Exhibit 13, one, a       8 but that is not a discussion for this deposition.
 9 discussion that was done separately from Project           9 Q. (By Mr. Nakamura) And -- I'm sorry. Go ahead.
10 Stonehenge?                                               10 A. I just think it's --
11 A. I can't answer questions about what was part of        11            MS. ELMER:             that's okay.
12 Stonehenge or not, as that would violate privilege.       12            THE WITNESS: Okay.
13           MS. ELMER: Brent, I think if you were to        13 Q. (By Mr. Nakamura)                         , did you have
14 ask the witness whether there were                        14 anything to add?
15 discussions that were business discussions and not part   15 A. Well, I just think real briefly in a document
16 of a work product project, he might be able to answer     16 like this that starts to talk to smaller groups that are
17 your question.                                            17 cross-functional, there's -- it's very difficult to get
18           MR. NAKAMURA: All right. I will give            18 anything done in an organization this size without
19 that a shot.                                              19 talking to the cross-functional partners on any given
20 Q. (By Mr. Nakamura) Were there future                    20 project.
21       discussions that were business discussions that     21            So I just want -- like I know I had talked
22 occurred that were not part of a work product project?    22 about it at the VP level and the acknowledgments and
23 A. Yes.                                                   23 leadership as well, but it's also the case in these
24 Q. And when did those discussions take place?             24 types of projects and all the projects we've been
25 A. All the time for as long as I can personally           25 talking to, like you have to solicit all various
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1 functions to get any sort of progress on those.               1 that this document has been inappropriately clawed back
2         I get the feeling that a lot of the                   2 and that privilege has been waived and that I should
3 questions are around, you know, why were there so many 3 have been able to examine                            as the Alphabet
4 people involved here. And it's because like to get            4 representative on what has now been redacted. But with
5 anything done -- like legal can't answer these                5 that, I have no further questions on this document.
6 questions. These get pushed back to -- usually the            6           MS. ELMER: We dispute your position, and
7 starting point, legal says, Hey, there's something            7 we're not going to argue about it here on the
8 wrong. And then I've got to go figure out how to solve        8 deposition.
9 that; and to do that, it's going to have implications         9           MR. NAKAMURA: Fair enough.
10 across the entire company.                                   10           Seumas, could you please put in the Chat
11           So that's just a pattern that I don't              11 tab 32.
12 think we really discussed, but I hope that sheds some        12           While this is being uploaded, this is --
13 light into why you see the cross-functional teams as the 13 if I can have the court reporter please mark this as
14 working groups in all of these areas.                        14 Alphabet Exhibit 15.
15 Q. Okay. Thank you,                        . I appreciate    15           (Exhibit 15 marked)
16 that.                                                        16           MR. NAKAMURA: This is a document that was
17           MR. NAKAMURA: Seumas, could you please             17 clawed back by Alphabet's counsel during this deposition
18 load into the Chat tab 31, please.                           18 and had additional redactions applied. It is a document
19 Q. (By Mr. Nakamura)                         , please let me 19 that begins in Bates No. GOOG-DOJ-AT-0030150, ending in
20 when you have that in front of you.                          20 Bates No. 0159.
21           MR. NAKAMURA: While that is downloading            21           For the record, I'd like to point the
22 for you, I will note that this is an -- could the court      22 witness' attention to PDF page 4. That is a page ending
23 reporter please mark this as Exhibit 14 for Alphabet.        23 in Bates No. 0152. I will note that additional
24           (Exhibit 14 marked)                                24 redactions have been applied to several lines to a
25           MR. NAKAMURA: And this Exhibit 14 was a            25 bullet point that begins "Antitrust worked with

                                                    Page 242                                                        Page 244
1 document that was clawed back by Alphabet's counsel            1         and        to build up expertise on the team to
2 during this deposition and reproduced to us with               2 effectively work on regulation and antitrust inquiries."
3 additional redactions applied. This is a document that         3 The rest of that bullet point has now been redacted.
4 begins with Bates No. GOOG-DOJ-AT-00660900 and ends in 4                   I had planned to examine                ,
5 Bates No. 0904.                                                5 Alphabet's representative, on what has now been
6 Q. (By Mr. Nakamura)                        , I plan only to   6 redacted, and the Division believes that those
7 ask you about the first page. Please let me know when          7 redactions are inappropriate as waiver has occurred and
8 you have reviewed that.                                        8 that the redactions were in the first instance
9 A. Yes. I reviewed it.                                         9 inappropriate in any event with respect to work product
10 Q. The first question is did Alphabet consider               10 and attorney/client privilege.
11                               as part of Project Stonehenge? 11            With that and subject to anything
12            MS. ELMER: I instruct the witness not to          12 Ms. Elmer would like to add, I have no further questions
13 answer the question because your question invades the        13 on this document.
14 work product doctrine and the attorney/client privilege.     14            MS. ELMER: We dispute your position with
15 Q. (By Mr. Nakamura) All right. And with respect             15 respect to waiver for all of the reasons that we've set
16 to             ' question on May 13, 2020, to your           16 forth in prior correspondence with you, particularly
17 knowledge, is there a PRG or one-page document that was      17 given the tremendous scope of the document production
18 produced as part of                               ?          18 that's been made in this matter; but we're not going to
19            MS. ELMER: Go ahead,              . I'm sorry.    19 argue about it here with you at the deposition.
20 A. Yes.                                                      20            MR. NAKAMURA: I appreciate that. And
21            MR. NAKAMURA: Ms. Elmer, did you have             21 with that, I have no further questions subject,
22 anything?                                                    22 Ms. Elmer, to any questions you might ask                .
23            MS. ELMER: No, I didn't.                          23            MS. ELMER: I do not have any questions.
24            MR. NAKAMURA: Okay. Thank you. And with           24            MR. NAKAMURA: All right. With that, no
25 that, I will note, again, that the Division believes         25 further questions.
